                                    Exhibit 6C
                   July 14, 2014 G. Malhotra Deposition Transcript




13-53846-tjt   Doc 6979-9   Filed 08/22/14   Entered 08/22/14 16:11:42   Page 1 of 4
                                                      Page 1                                                     Page 3
      1                                                         1
      2         UNITED STATES BANKRUPTCY COURT                  2        HEATHER J. HUBBARD, ESQ.
      3      FOR THE EASTERN DISTRICT OF MICHIGAN               3        WALLER LANSDEN DORTCH & DAVIS, LLP
      4                  - - -                                  4        511 Union Street, Suite 2700
      5   In Re:                  ) Chapter 9                   5        Nashville, Tennessee 37219
      6                                                         6           Appearing on behalf of U.S. Bank.
      7   City of Detroit, Michigan, )                          7
      8                                                         8
      9       Debtor.              ) Hon. Steven Rhodes         9
     10   ____________________________                         10        SAM J. ALBERTS, ESQ.
     11                                                        11        DENTONS US, LLP
     12                                                        12        1301 K Street, N.W.
     13                                                        13        Suite 600, East Tower
     14           The videotaped deposition of GAURAV MALHOTRA 14        Washington, D.C. 20005
     15           Taken at 51 Louisiana Avenue, N.E.           15            Appearing on behalf of the Retiree Committee.
     16           Washington, D.C.                             16
     17           Commencing at 9:09 a.m.                      17
     18           Tuesday, July 15, 2014                       18
     19           Before: Gail L. Inghram Verbano              19        DOUGLAS G. SMITH, P.C.
     20           Registered Diplomate Reporter,               20        KIRKLAND & ELLIS, LLP
     21           Certified Realtime Reporter,                 21        300 North LaSalle
     22           Certified Shorthand Reporter-CA (No. 8635)   22        Chicago, Illinois 60654
     23                                                        23           Appearing on behalf of Syncora Guarantee, Inc.,
     24                                                        24           and Syncora Capital Assurance, Inc..
     25                                                        25
                                                      Page 2                                                     Page 4
      1                                                              1
      2   APPEARANCES:                                               2   KELLY DiBLASI, ESQ.
      3                                                              3   WEIL, GOTSHAL & MANGES, LLP
      4   RONALD A. KING, ESQ.                                       4   767 Fifth Avenue
      5   FRANK J. GUADAGNINO, ESQ. (Pittsburgh Office)              5   New York City, New York 10153
      6   CLARK HILL, PLC                                            6      Appearing on behalf of Financial Guaranty
      7   212 East Grand River Avenue                                7      Insurance Company.
      8   Lansing, Michigan 48906                                    8
      9        Appearing on behalf of the Retirement Systems         9
     10        for the City of Detroit.                             10
     11                                                             11   MICHAEL BHARGAVA, ESQ.
     12                                                             12   CHADBOURNE & PARKE, LLP
     13                                                             13   1200 New Hampshire Avenue, NW
     14   GEOFFREY S. STEWART, ESQ.,                                14   Washington, D.C. 20036
     15   CHRISTOPHER DiPOMPEO, ESQ.,                               15      Appearing on behalf of Creditor Assured
     16   SARAH A. HUNGER, ESQ.                                     16      Guaranty.
     17   JONES DAY                                                 17
     18   51 Louisiana Avenue, N.W.                                 18
     19   Washington, D.C. 20001                                    19
     20        Appearing on behalf of the Debtor and the Witness.   20
     21                                                             21
     22                                                             22
     23                                                             23
     24                                                             24
     25                                                             25

                                                                                                      Pages 1 to 4
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13-53846-tjt      Doc 6979-9 Filed 08/22/14 Entered 08/22/14 16:11:42 Page 2 of 4
                                                          Page 209                                                    Page 211
      1                MALHOTRA                                       1                     MALHOTRA
      2      A. I would have to go back and look. But                 2   the City will also have billions of dollars in
      3   on the commercial and industrial, on the corporate          3   expenditures; correct?
      4   side it would be a high number. But I do not know           4       A. That would be consistent with what the
      5   specifically of the exact percentage collection.            5   forecasts are, yes.
      6      Q. You don't know what the percent                       6       Q. Do you have any understanding about what
      7   collection is for the individual income tax;                7   the amount in terms of dollars is of the reduction
      8   correct?                                                    8   in the COPs claim under the plan?
      9      A. Well, even the individual income tax has              9              MR. STEWART: Objection -- pardon me.
     10   different components between residents working in          10       Objection.
     11   the city, residents working out of the city and            11              THE WITNESS: Well, as a part of the
     12   nonresidents. And I do not know off the top of my          12       plan, the COPs claim is -- the claim is
     13   head what the collection rate is for each one of           13       roughly a billion four forty, and the
     14   those components.                                          14       estimated recovery based on the assumptions
     15      Q. Do you know how many companies actually              15       in the plan are roughly 10 percent.
     16   pay the corporate tax?                                     16   BY MR. SMITH:
     17      A. I do not. It's -- I do not.                          17       Q. What are the most -- what are the key
     18      Q. Do you know if there are -- do you have              18   assumptions of your forecast being modeled?
     19   any information about exceptions or reductions in          19       A. They are -- they're -- we can walk
     20   taxes available to corporations or other entities          20   through each one of the line items in the key
     21   within the City?                                           21   assumptions there.
     22      A. There is the -- the renaissance zone,                22       Q. Well, how about I ask you this: Are the
     23   but that's probably more in relation to property           23   key assumptions of your forecasting model
     24   taxes. In terms of corporate income taxes, I'm             24   reflected in your expert report?
     25   not aware of any specific incentives that would be         25              And I'll hand you a copy of it in a

                                                          Page 210                                                    Page 212
      1                MALHOTRA                                       1                    MALHOTRA
      2   provided by the City.                                       2   second, which I will mark as Exhibit 3.
      3        Q. What is the treatment of property taxes             3              (Exhibit Malhotra-3 was marked for
      4   within the renaissance zone?                                4              identification.)
      5      A. I believe that it is more in the context              5              THE WITNESS: Could you please repeat
      6   of properties that are in the renaissance zone              6       the question.
      7   will have a slightly different taxable value that           7   BY MR. SMITH:
      8   is associated with it versus the properties that            8       Q. I could just ask the question again.
      9   are not in the renaissance zone. And that,                  9              Are the key assumptions in your model
     10   however, the properties in the renaissance zone            10   reflected in your expert report, or are there some
     11   make up a small component of the overall total             11   key assumptions that are not in the report?
     12   properties and the total property taxes, but I             12      A. If I may, I would say the majority of
     13   would have to look through the details to kind of          13   the assumptions are in the expert report or have
     14   explain the exact structure.                               14   been mentioned in the assumptions of the model
     15        Q. The property tax in the renaissance                15   that are exhibits or -- to the expert report.
     16   zone, is it lower?                                         16   So . . .
     17      A. Well, I don't know if it's the rate or               17       Q. Does your expert report contain a
     18   the assessed values. I would have to go back and           18   complete and accurate account of your expert
     19   check how the mix is built up.                             19   opinions in this case?
     20        Q. Do you agree that under your forecast,             20      A. Yes.
     21   over the course of the next 10 years, the City             21       Q. Do you anticipate doing any further work
     22   will bring in billions of dollars of revenue?              22   before the confirmation hearing?
     23      A. Over the next ten years, the City's                  23      A. Further work on what?
     24   projections are about $11 billion in revenue.              24       Q. On the forecasts or developing any other
     25        Q. Over the course of the next ten years,             25   opinions?

                                                                                                        Pages 209 to 212
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13-53846-tjt      Doc 6979-9 Filed 08/22/14 Entered 08/22/14 16:11:42 Page 3 of 4
                                                      Page 213                                                    Page 215
      1                 MALHOTRA                                  1                MALHOTRA
      2        A. If we reach more settlements, we will           2   you say that your projected revenues and
      3   update the forecast as those settlements come           3   expenditures are reasonable forecasts.
      4   along.                                                  4          Do you see that?
      5        Q. What settlements are in process that            5      A. Yes.
      6   you're talking about?                                   6      Q. You'd acknowledge that other independent
      7            MR. STEWART: Before you answer,                7   experts could come up with reasonable forecasts
      8        Mr. Malhotra, I just simply caution you to         8   that differ from your forecast; correct?
      9        remember that you're not permitted by the          9      A. I don't know what other experts would
     10        judge's order to disclose anything that's         10   come up with. It's up to them.
     11        been going on in mediations. Subject to           11      Q. I know. But my only question is, there
     12        that, please answer the question.                 12   could be reasonable forecasts of the general
     13            THE WITNESS: All right. Thank you.            13   fund's revenues and expenditures that are
     14            We're working on the Detroit Police           14   different from the forecasts you put together;
     15        Officers Association and with the Detroit         15   correct?
     16        Fire Fighters Association to hopefully wrap       16      A. I don't know about that. I feel that
     17        up those negotiations.                            17   these are reasonable forecasts, and I can't talk
     18   BY MR. SMITH:                                          18   to what other forecasts would be reasonable or not
     19        Q. And what are specifically the issues           19   reasonable that are not generally the forecasts
     20   that you're trying to wrap up there?                   20   that I have in front of me.
     21        A. That's --                                      21      Q. You're not taking the position that your
     22            MR. STEWART: Once again, please answer        22   forecasts are the only reasonable forecasts of
     23        with that same admonition about mediation.        23   general fund revenues and expenditures that could
     24            THE WITNESS: That's subject to                24   be made; correct?
     25        mediation.                                        25      A. I am taking the position that based on

                                                      Page 214                                                    Page 216
      1                 MALHOTRA                                  1               MALHOTRA
      2   BY MR. SMITH:                                           2   the assumptions we have in here, these are the
      3        Q. Okay. Is there anything that's not              3   forecasts that I -- I seem or deem are reasonable.
      4   subject to mediation that you could talk about          4   So I can't talk to what other forecasts may or may
      5   relating to settlements in the works or not? Or         5   not be reasonable unless I understand assumptions
      6   is it all part of mediations?                           6   and so on and so forth.
      7        A. It's generally the discussions are part         7      Q. My only question is, is your forecast
      8   of mediations.                                          8   the only reasonable forecast that's possible of
      9        Q. Okay. In your expert report you                 9   the general fund revenues and expenditures?
     10   mention -- on Page 1 you say you've forecasted         10      A. I don't know. I can talk to these
     11   revenues and expenses for the City's general fund;     11   forecasts being reasonable. I don't know whether
     12   correct?                                               12   other forecasts are reasonable or not.
     13        A. That is correct.                               13      Q. Over on Page 4 of your report, you
     14        Q. You haven't attempted to forecast              14   identify some of the experts that you're relying
     15   revenues and expenses for the entire city;             15   on; correct? Such as Mr. Cline and Ms. Sallee.
     16   correct?                                               16      A. That's correct.
     17        A. That is correct.                               17      Q. Page 7 of your report at the bottom of
     18        Q. And if you look at -- why did you              18   the page, you talk about the assumptions, some of
     19   perform a 40-year forecast?                            19   the assumptions that you made. Do you see that?
     20        A. It was to get a longer-term view of the        20   There's a section called "Assumptions."
     21   liabilities that the City was signing up for in        21      A. That's correct.
     22   terms of the various settlements to ascertain and      22      Q. And it would be fair to say that your
     23   understand the City's ability to meet the              23   forecasts are based on a series of assumptions;
     24   obligations that it was signing up to.                 24   correct?
     25        Q. On Page 2 of your report in the middle,        25      A. Yes.


                                                                                                Pages 213 to 216
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13-53846-tjt      Doc 6979-9 Filed 08/22/14 Entered 08/22/14 16:11:42 Page 4 of 4
